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               IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
                Plaintiff,    )                  8:10CR449
                              )
          v.                  )
                              )
ANDREA CARLSON,               )                       ORDER
                              )
                Defendant.    )
______________________________)


           This matter is before the Court on defendant’s motion

for permission to seal (Filing No. 106)          The Court finds the

motion should be granted.      Accordingly,

           IT IS ORDERED that defendant’s motion is granted; the

amended index of exhibits shall remain sealed pending further

order of the Court.

           DATED this 30th day of August, 2011.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    _____________________________
                                    LYLE E. STROM, Senior Judge
                                    United States District Court
